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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      NEWNAN DIVISION



E.F., a minor, by and through,
Laquarbashaun Ford, his mother,

     Plaintiff,
                                          CIVIL ACTION FILE
v.
                                          NO. 3:19-cv-141-TCB
TROUP COUNTY SCHOOL
DISTRICT, BRIAN SHUMATE, in
his individual and official capacity,
ALTON WHITE, in his individual
and official capacity,

     Defendants.



                                ORDER

I.   Background

     During the summer of 2019, Plaintiff E.F. was a seventeen-year-

old student enrolled in summer school at LaGrange High School. He

was to begin his senior year in August.

     E.F. is an aspiring rapper. He performs under the moniker

“Badazz Bastard.” In June or July 2019, he filmed a YouTube video for
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his song “Consequences 2.” The video features E.F. and other

adolescents dancing, smoking, making obscene and other hand

gestures, and waving what appears to be a real handgun. E.F. uploaded

his music video to YouTube approximately two weeks after filming.

     On July 13 or 14, James Bozeman, assistant principal at

LaGrange High School, saw the “Consequences 2” music video on his

Facebook feed. On July 25, Bozeman provided Defendant Alton White,

principal of LaGrange High School, with a link to the video.

     White then forwarded the video to school resource officer Lane

Hammer, who in turn referred the video to the special investigations

unit of the LaGrange police department. Investigator Jarrod Anderson

reviewed the video and opined that some of E.F.’s hand gestures were

gang signs.

     Anderson then referred the video to an assistant district attorney

for prosecution, who declined to press charges.

     On the first day of the fall semester, the school suspended E.F.

pending a disciplinary tribunal hearing.




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     On September 3, White charged E.F. with violating two sections of

the Troup County School District Student Behavior Code. The charges

were for violations of section 7.10, “Gang Activity,” and 12.08, “Outside

Conduct.”

     On September 4, the disciplinary tribunal held a hearing and

found E.F. guilty of violating sections 7.10 and 12.08.

     The tribunal expelled E.F. for his senior year, with the option to

attend the second semester of his senior year at the Troup County

school district alternative school, HOPE Academy. The tribunal also

held that E.F. could return to LaGrange High School for the first

semester of the 2020-2021 school year upon favorable recommendation

from the principal and staff of HOPE Academy.

     On September 9, E.F. notified Defendant Brian Shumate,

superintendent of the Troup County school district, of his intent to

appeal the tribunal’s decision to the Troup County board of education.

     On September 23, the Troup County board of education heard oral

argument on the appeal, and the following day, Shumate informed E.F.

that the school board upheld the tribunal’s decision.

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     On October 1, E.F. appealed the decision to the Georgia State

Board of Education.

     On October 15, E.F. filed this lawsuit through his mother,

Laquarbashaun Ford, against Defendants Troup County School

District, White, and Shumate. E.F. brings two claims: (1) violation of

freedom of speech guaranteed by the First Amendment, and (2)

violation of due process guaranteed by the First and Fourteenth

Amendments.

     E.F. seeks the following relief:

     • a declaration that

           o Defendants’ actions violated E.F’s right to free speech

              under the First and Fourteenth Amendments; and

           o sections 7.10 and 12.08 of the Troup County School

              District Student Behavior Code are unconstitutionally

              overbroad and vague, in violation of the Fourteenth

              Amendment;




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• a preliminary and permanent injunction enjoining Defendants

  from punishing E.F. or taking further disciplinary action

  against him on the basis of his protected expression;

• a preliminary and permanent injunction enjoining Defendants

  from implementing sections 7.10 and 12.08 of the Troup County

  school district behavior code;

• an order requiring Defendants to

     o allow E.F. to return to LaGrange High School without

        condition;

     o expunge E.F.’s student record of any and all allegations,

        findings, mentions, and consequences resulting from

        Defendants’ violations;

     o adopt and implement a student behavior code that

        comports with the U.S. Constitution and other applicable

        laws;

     o provide remedial educational services to E.F.;




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      • nominal and actual damages against Troup County school

           district, and nominal, actual, and punitive damages against

           Shumate and White; and

      •     attorneys’ fees.

      Now before the Court is E.F.s motion [3] for preliminary

injunction. Having had the benefit of oral argument, the Court enters

the following order.

II.   Discussion

      E.F. seeks a preliminary injunction enjoining Defendants from

punishing him or taking further disciplinary action against him based

on his expression, and implementing sections 7.10 and 12.08 of the

student behavior code.

      A.      Should the Court Abstain from Exercising
              Jurisdiction?

      Defendants first contend that the Court should not exercise

jurisdiction over this case. They assert that “[b]ecause E.F. is still

actively appealing his disciplinary proceeding through the state

proceedings, it would not be appropriate for the Court to interfere with



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Georgia’s legitimate interest in overseeing school policy and discipline.”

[14] at 5.

      The disciplinary proceedings to which Defendants refer is E.F.’s

appeal of the expulsion. Once a disciplinary tribunal issues its decision,

a student may appeal the decision to the local school board of education,

which E.F. has done. The Troup County Board of Education affirmed

the tribunal’s decision. A student may then appeal to the State Board of

Education, and then to superior court. E.F. has appealed to the State

Board of Education, but as of the time of this order, it has not issued a

decision.

             1.   Younger Categories

      Consequently, Defendants argue that Younger abstention applies.

Younger abstention is a doctrine that prohibits federal courts from

interfering with certain ongoing state proceedings. The doctrine applies

in only three categories of cases: (1) “ongoing state criminal

prosecutions,” (2) “certain ‘civil enforcement proceedings,’” and (3) “civil

proceedings involving certain orders . . . uniquely in furtherance of the

state courts’ ability to perform their judicial functions.” Sprint

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Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 78 (2013) (alteration in original)

(quoting New Orleans Pub. Serv., Inc. v. Council of the City of New

Orleans, 491 U.S. 350, 368 (1989)). Defendants assert that the

disciplinary appeal process falls under category two, certain civil

enforcement proceedings. E.F. replies that it does not.

     Younger applies to “particular state civil proceedings that are akin

to criminal prosecutions . . . .” Sprint, 571 U.S. at 72. To qualify as akin

to criminal prosecutions, the proceedings are “characteristically

initiated to sanction the federal plaintiff, i.e., the party challenging the

state action, for some wrongful act.” Id. at 79. Further, “[i]investigations

are commonly involved, often culminating in the filing of a formal

complaint or charges.” Id. at 79–80.

     In this case, principal White, part of the Troup County school

district, brought an enforcement action to sanction E.F. for his alleged

use of gang signs and possession of a firearm in his music video. The

Troup County school district qualifies as a state actor. See Coffee Cty.

Sch. Dist. v. Snipes, 454 S.E.2d 149, 150 (Ga. Ct. App. 1995) (holding

that a county-wide school district is a department or agency of the state

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and political subdivisions of the state in the context of sovereign

immunity).

     Next, an investigation occurred. The assistant principal watched

the video, forwarded it to White, who then forwarded it to the school

resource officer, who then forwarded it to the special victims unit. The

special victims unit then analyzed the video and determined that the

firearm may have been real and that E.F. used gang signs.

     The Court finds that it should abstain from hearing the case at

this time. The appeal process E.F. is going through is similarly akin to a

criminal prosecution.

     E.F. argues that Younger abstention should not apply to school

disciplinary hearings because such application is unprecedented in this

circuit. However, a lack of Eleventh Circuit law does not preclude this

Court from taking guidance from other courts that have addressed the

issue of whether Younger applies to student disciplinary proceedings.

     In Doe v. University of Kentucky, 860 F.3d 365 (6th Cir. 2017), the

Sixth Circuit held that a student disciplinary proceeding qualified as a

civil enforcement proceeding because it involved a complaint,

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investigation, notice of charge, and the opportunity to introduce

witnesses and evidence.

     E.F. asserts that the Georgia State Board of Education

“consistently stresses that school discipline is not criminal in nature.”

[18] at 4. However, in Doe, the court held that the lack of certain

protections such as cross-examination and subpoena power did not

preclude the applicability of Younger. Similarly here, the fact that the

state school board of education does not provide all the protection of a

criminal proceeding does not render Younger inapposite.

     Similarly, and more recently, in G.S. ex rel. F.S. v. Rose Tree

Media School District, 393 F. Supp. 3d 420, 429 (E.D. Pa. 2019), the

court held that Younger abstention applies to a case in which the

plaintiff filed a lawsuit asserting, inter alia, infringement of his First

and Fourteenth Amendment rights. The plaintiff posted lyrics to a rap

song on his Snapchat account and was subsequently expelled. In

Pennsylvania, the law requires a school to hold a formal hearing before

expelling a student. At that point, the student can appeal the decision




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to the court of common pleas,1 then to the commonwealth court.2 The

court held that if the plaintiff prevailed on the grounds that his speech

was protected in the federal suit, he would have “undermined the

expulsion without giving the state court system its proper opportunity

to review the matter.” Id. at 429.

     This Court finds that the same rationale is applicable here, and

that E.F.’s disciplinary proceeding constitutes a civil enforcement

proceeding.

              2.    Middlesex Factors

     Because the Court finds that this case fits into one of the Younger

categories, it must also look at additional factors under Middlesex

County Ethics Committee v. Garden State Bar Ass’n, 457 U.S. 423

(1982). “The Middlesex test states that abstention may occur when

three criteria are met: (1) state proceedings are currently pending; (2)

the proceedings involve an important state interest; and (3) the state

proceedings will provide the federal plaintiff with an adequate


     1   The court of common pleas is the state-level trial court in Pennsylvania.
     2   The commonwealth court is one of two intermediate appellate courts.

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opportunity to raise his constitutional claims.” Doe, 860 F.3d at 369

(citing Middlesex, 457 U.S. at 432–34).

     E.F. asserts that before even addressing the first Middlesex factor,

the Court should determine whether the federal proceeding will

interfere with the state proceeding. Indeed, the Eleventh Circuit has

held that if there is no interference, abstention is not required. 31

Foster Children v. Bush, 329 F.3d 1255, 1276 (11th Cir. 2003). “In order

to decide whether the federal proceeding would interfere with the state

proceeding, we look to the relief requested and the effect it would have

on state proceedings.” Id. In this case, the issuance of an injunction

would moot the state proceedings—something the Court views as undue

interference with the state’s proceedings.

     Thus, the question is whether E.F.’s state proceedings are

currently pending. In M.R. v. Board of School Commissioners of Mobile

County, No. 11-0245-WS-C, 2012 WL 3778283, at *3–4 (S.D. Ala. Aug.

30, 2012), the court analyzed the “unitary proceeding rationale.” Under

that rationale, the defendant-school board asserted that “the completed

administrative proceedings and the availability of state judicial review

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[were] properly viewed in the aggregate as a single unitary proceeding

for Younger purposes.” Id. at *3. Thus, the defendants argued that the

state proceeding was ongoing because the plaintiffs had not seen it

through to the conclusion of the state judicial review proceedings.

     That court agreed, based on guidance from the First, Third,

Fourth, Seventh, and Eight Circuits, and found that state proceedings

were ongoing as a matter of law for Younger purposes “where state

judicial review is available from a final administrative proceeding, even

where a plaintiff has not availed itself of that judicial review

mechanism.” Id.

     In this case, E.F. is in the process of seeking review from the state

board of education and has not availed himself of the judicial review

mechanism available upon receipt of the board’s decision. Accordingly,

the state proceedings are currently pending.

     This case also involves an important state interest. Though E.F.

argues that the state cannot rely on a general interest in education, he

provides no case law to support that assertion. Moreover, the Supreme




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Court has held that “[p]roviding public schools ranks at the very apex of

the function of a State.” Wisconsin v. Yoder, 406 U.S. 205, 213 (1972).

     The final factor is whether E.F. may raise his constitutional

claims to the state board of education. On the one hand, E.F. has

already raised his First Amendment claims in his letter of appeal.

However, nothing in the statute explicitly allows E.F. to raise his

constitutional claims.

     Defendants cite Henry County Board of Education v. S.G., 804

S.E.2d 427 (Ga. 2017), to support their assertion that E.F. may raise his

constitutional challenges to the state board of education. However, in

that case, the court merely considered whether an affirmative defense

applied and did not explicitly address constitutional challenges as

Middlesex requires. Regardless, “[m]inimal respect for the state

processes . . . precludes any presumption that the state courts will not

safeguard federal constitutional rights.” Butler v. Ala. Judicial Inquiry

Comm’n, 245 F.3d 1257, 1262 (11th Cir. 2001) (quoting Middlesex, 457

U.S. at 431).




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     Moreover, “[E.F.] bears the burden to establish that the state

procedures are inadequate.” Id.

     In an attempt to meet that burden, E.F. asserts that he does not

have an adequate opportunity for judicial review of his claims and that

the “nature of the First Amendment counsels against abstention where

speech may be chilled pending state proceedings.” [18] at 7. To support

his argument, he cites For Your Eyes Alone, Inc. v. City of Columbus,

281 F.3d 1209 (11th Cir. 2002), a case in which the Eleventh Circuit

concluded that the district court did not have discretion to abstain.

There, the plaintiffs brought a § 1983 action challenging the

constitutionality of a city ordinance prohibiting private modeling

sessions at adult entertaining establishments. That case is easily

distinguishable because the plaintiffs brought their constitutional

challenge in federal court before any criminal prosecutions began. It

was only after the defendant had filed its motion to dismiss, answer,

and motion for summary judgment—and after the court ruled on a

motion for temporary restraining order—that a criminal prosecution




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began. The district court then granted the defendant’s motion to dismiss

based on Younger abstention.

     On appeal, the Eleventh Circuit determined that the federal

proceeding had progressed beyond a point at which Younger abstention

could be invoked. Though the Eleventh Circuit indeed expressed

concern that Younger abstention could chill future speech, that concern

was expressed in the context of allowing the doctrine to apply after

substantial court proceedings had occurred. The concern was grounded

in fear that allowing such application could result in a reverse-removal

power and subsequent relitigating of issues that had previously been

argued.

     In contrast here, the state proceedings against E.F. have already

commenced and there has been no activity in the federal case other

than the briefing on E.F.’s motion for preliminary injunction. However,

“the Supreme Court has indicated that the mere denial of a TRO by the

district court, without more, does not constitute a proceeding of

substance that renders Younger abstention improper . . .” Id. at 1218.




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     Moreover, the court in For Your Eyes Alone explicitly stated, “First

Amendment concerns do not, in themselves, provided a federal court

with justification for interfering with a pending state criminal

proceeding.” Id. at 1219. Accordingly, E.F. has not met his burden of

showing that state procedures are inadequate.

     Third, even if one of the three categories warrants Younger

abstention and the Middlesex factors favor abstention, abstention is not

appropriate in three exceptional cases: “(1) there is evidence that the

state proceedings are motivated by bad faith; (2) irreparable injury

would occur; or (3) there is no adequate alternative state forum where

constitutional issues can be raised.” Dandar v. Church of Scientology

Flag Serv. Org., Inc., 619 F. App’x 945, 948 (11th Cir. 2015) (quoting

Hughes v. Attorney Gen. of Fla., 377 F.3d 1258, 1263 n.6 (11th Cir.

2004)). Here, there is no evidence any of those exceptions exist.

     One remaining consideration exists in light of the fact that E.F.

seeks both injunctive and monetary relief. Because he cannot bring his

claims for monetary damages before the state board of education, the

Court must determine how to handle those claims. The district court

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can only issue a stay in the proceedings until the resolution of E.F.’s

proceedings through the state appeal system. See Watson v. Fla.

Judicial Qualifications Comm’n, 618 F. App’x 487, 491 (11th Cir. 2015).

III. Conclusion

      For the foregoing reasons, the Court abstains from hearing E.F.’s

claims at this time. E.F.’s motion [3] for preliminary injunction is

denied without prejudice. This case is hereby stayed pending resolution

of the state appeal process, and the Clerk is directed to administratively

close this case.3 At such time as the appeals are resolved, either party

may file a motion to reopen the case, and E.F. may re-file his motion for

preliminary injunction.

      IT IS SO ORDERED this 25th day of October, 2019.



                                       ____________________________________
                                       Timothy C. Batten, Sr.
                                       United States District Judge




      3  Administratively closing a case is a docket-control device used by the Court
for statistical purposes. It does not prejudice the parties’ rights in any manner.

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